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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       CASE NO. 1:21-CR-71
              v.                            :
                                            :
KARL DRESCH                                 :
                                            :
                       Defendant.           :


       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the previously entered protective order governing discovery. Finally, the

United States requests that any order granting this motion be made applicable to co-defendants

who may later be joined.

       The United States has requested counsel for defendant’s position on this matter and has not

received a response.




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       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.



                                            Respectfully submitted,

                                            CHANNING PHILLIPS
                                            Acting United States Attorney
                                            D.C. Bar No. 415793


                                     By:     /s/ Jennifer Blackwell
                                            Jennifer Leigh Blackwell
                                            Assistant United States Attorney
                                            D.C Bar No. 481097
                                            555 4th Street, N.W., Room 5241
                                            Washington, D.C. 20530
                                            202.803.1590
                                            Jennifer.blackwell3@usdoj.gov


                                 CERTIFICATE OF SERVICE

      On this 9th day of April, a copy of the foregoing was served on counsel of record for the
defendant via the Court’s Electronic Filing System.

                                                      /s/ Jennifer Blackwell
                                            Jennifer Leigh Blackwell
                                            Assistant United States Attorney




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 1:21-CR-71
               v.                            :
                                             :
KARL DRESCH                           :
                                             :
                      Defendant.             :

                                            ORDER

        Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

        ORDERED, that the motion is GRANTED, and it is further

        ORDERED, that the United States may provide in discovery materials protected by

Federal Rule of Criminal Procedure 6(e), and it is further

        ORDERED, that the United States may provide in discovery sealed materials, pursuant to

the previously entered protective order governing discovery, and it is further

        ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.




Date:                                        ___________________________________
                                             AMY BERMAN JACKSON
                                             UNITED STATES DISTRICT JUDGE




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